       Case 2:23-bk-16207-VZ Doc 58 Filed 05/07/24 Entered 05/07/24 15:34:57                                           Desc
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Rev. 06/2017

                                        United States Bankruptcy Court
                                          Central District of California
                                        255 East Temple Street, Los Angeles, CA 90012

                            ORDER AND NOTICE OF DISMISSAL
                 ARISING FROM CHAPTER 13 TRUSTEE'S MOTION TO DISMISS
                                   [11 U.S.C. § 1307]
    DEBTOR INFORMATION:                                                            BANKRUPTCY NO. 2:23−bk−16207−VZ
    Kamleshwar Upadhya
                                                                             CHAPTER 13
    Last four digits of Social−Security or Individual Taxpayer−Identification (ITIN) No(s)., (if any): xxx−xx−9366
    Employer Tax−Identification (EIN) No(s).(if any): N/A
    Debtor Dismissal Date: 5/7/24


    Address:
    3256 Camino Del Sur
    Lancaster, CA 93536


Pursuant to the Chapter 13 Trustee's motion to dismiss ("Motion") and supporting declaration in this case,
IT IS ORDERED that the Motion is granted, and

(1) debtor's bankruptcy case is dismissed;
(2) the court retains jurisdiction on all issues involving sanctions, any bar against being a debtor in bankruptcy, all issues arising
    under Bankruptcy Code §§ 105, 109(g), 110, 329, 349, and 362, and to any additional extent provided by law.




                                                                                  BY THE COURT,
Dated: May 7, 2024                                                                Vincent P. Zurzolo
                                                                                  United States Bankruptcy Judge




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